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UNITED STATES DISTRICT COURT

DISTRICT OF MARYLAND
ROGER W. TITUS 6500 CHERRYWOOD LANE
UNITED STATES DISTRICT JUDGE GREENBELT, MARYLAND 20770
301-344-0052
MEMORANDUM

TO: Clerk

FROM: Judge Roger W. Titus

RE: United States of America v. Lavon Dobie

Criminal No. RWT 04-0235

DATE: March 19, 2008

ROR OR OR Kok GK Ok

The attached materials were received directly in chambers from the defendant, Lavon D.
Dobie. The documents were not accompanied by a proof of service. Rather than to return them to
Ms. Dobie for proof of service, | am directing that they be docketed collectively as a Motion for
Reduction of Sentence, and a copy provided directly to the Office of the United States Attorney,
which is requested to file a response.

RWT/emc

cc: Lavon D. Dobie
Deborah A. Johnston, Esquire
Bonnie Greenberg, Esquire
U.S. Probation
